      Case: 1:15-cv-10196 Document #: 1 Filed: 11/10/15 Page 1 of 23 PageID #:1




                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

LUIS SEGOVIA, JOSE ANTONIO TORRES,
PAMELA LYNN COLON, TOMAS ARES,
ANTHONY BUNTEN, LAVONNE WISE,
IRAQ AFGHANISTAN AND PERSIAN                    Case No. _______________
GULF VETERANS OF THE PACIFIC, and
LEAGUE OF WOMEN VOTERS OF THE
VIRGIN ISLANDS,

                       Plaintiffs,

     v.

BOARD OF ELECTION COMMISSIONERS
 FOR THE CITY OF CHICAGO,

LANGDON D. NEAL,
 in his official capacity as Chairman of the
 Board of Election Commissioners for the
 City of Chicago,

KAREN KINNEY,
 in her official capacity as Rock Island
 County Clerk,

UNITED STATES OF AMERICA,

ASHTON CARTER,
 in his official capacity as the Secretary of
 Defense,

FEDERAL VOTING ASSISTANCE
 PROGRAM,

MATT BOEHMER,
 in his official capacity as Director of the
 Federal Voting Assistance Program,

                       Defendants.
       Case: 1:15-cv-10196 Document #: 1 Filed: 11/10/15 Page 2 of 23 PageID #:2




                                          COMPLAINT

        Plaintiffs Luis Segovia, Jose Antonio Torres, Pamela Lynn Colon, Tomas Ares, Anthony

Bunten, Lavonne Wise (“Individual Plaintiffs”), Iraq Afghanistan and Persian Gulf Veterans of

the Pacific, and League of Women Voters of the Virgin Islands (“Organizational Plaintiffs”), on

personal knowledge as to their own acts and upon information and belief reasonably formed after

reasonable inquiry as to the acts of others, hereby file this Complaint against Board of Election

Commissioners for the City of Chicago, Langdon D. Neal, Karen Kinney, the United States of

America, Ashton Carter, Federal Voting Assistance Program, and Matt Boehmer, and allege as

follows:

                                  NATURE OF THE ACTION

        1.     This action concerns the federal Uniformed and Overseas Citizens Absentee

Voting Act, Pub. L. No. 99-410, codified as amended at 52 U.S.C. §§ 20301 to 20311

(“UOCAVA”), and the Illinois statute implementing its requirements, known as the Illinois

Military and Overseas Voter Empowerment (“MOVE”) law, see 10 Ill. Comp. Stat. 5/20-1 et

seq.

        2.     Pursuant to these statutes, former Illinois residents are allowed to continue voting

in Illinois by absentee ballot for President and for voting representation in the U.S. Senate and

U.S. House of Representatives if they reside in the Northern Mariana Islands (“NMI”), American

Samoa, or in a foreign country, but not if they reside in Guam, Puerto Rico, or the U.S. Virgin

Islands.

        3.     This disparate treatment violates the U.S. Constitution’s guarantee of equal

protection. Equal protection rights are guaranteed by the Equal Protection Clause of the

Fourteenth Amendment and the equal-protection component of the Due Process Clause of the

Fifth Amendment to the U.S. Constitution. See United States v. Windsor, 133 S. Ct. 2675, 2695
      Case: 1:15-cv-10196 Document #: 1 Filed: 11/10/15 Page 3 of 23 PageID #:3




(2013). The Equal Protection Clause provides: “No state shall . . . deny to any person within its

jurisdiction the equal protection of the laws.” U.S. Const. amend. XIV, § 1.

         4.    As President Barack Obama emphasized in his 2015 State of the Union Address,

invoking the 50th anniversary of the March on Selma and the Voting Rights Act, “surely we can

agree that the right to vote is sacred, that it’s being denied to too many[.]” 1 Pub. Papers 36 (Jan.

20, 2015). In his 2014 State of the Union Address, he declared that “[c]itizenship means

standing up for everyone’s right to vote.” 1 Pub. Papers 50 (Jan. 28, 2014). And, in his 2013

State of the Union Address, he explained that “one of the most fundamental rights of a

democracy” is the right to vote, and that “when any American, no matter where they live or what

their party, are denied that right . . . we are betraying our ideals.” 1 Pub. Papers 90 (Feb. 12,

2013).

         5.    As Congress itself recognized in enacting predecessor legislation to UOCAVA,

“the right to vote for national officers is an inherent right and privilege of national citizenship,”

H.R. Rep. No. 94-649, pt. 1, at 5 (1975), reprinted in 1975 U.S.C.C.A.N. 2358, 2362; and

“American citizens outside the United States . . . have their own Federal stake – their own U.S.

legislative and administrative interests – which may be protected only through representation in

Congress and in the executive branch,” id. at 7, 1975 U.S.C.C.A.N. at 2364.

         6.    The federal and state laws at issue violate this fundamental guarantee of equal

protection. Congress selectively extended the franchise only to some U.S. citizens residing

outside the States, while denying it to others who are similarly situated. Under UOCAVA, States

are required to allow former state citizens residing outside the United States or in the NMI to

vote on an absentee basis in federal elections. But under the same law, States are free to deny

that right to similarly situated persons residing in the other U.S. Territories overseas. And




                                                   2
      Case: 1:15-cv-10196 Document #: 1 Filed: 11/10/15 Page 4 of 23 PageID #:4




Illinois law draws even further distinctions, giving preferential treatment to former Illinois

citizens residing in American Samoa in addition to the NMI and places outside the United States,

while denying the right to vote absentee to former Illinois citizens residing in the other U.S.

Territories overseas.

       7.      The Constitution does not permit Congress and the States to pick and choose

which voters living outside the States are able to maintain their right to vote for President and

voting representation in the U.S. House and Senate.

       8.      Neither Congress nor Illinois has offered any explanation or justification for these

arbitrary classifications, nor could they.

       9.      Plaintiffs are individuals – Luis Segovia, Jose Antonio Torres, Pamela Lynn

Colon, Tomas Ares, Anthony Bunten, and Lavonne Wise – and organizations – Iraq Afghanistan

and Persian Gulf Veterans of the Pacific and League of Women Voters of the Virgin Islands –

who are injured by virtue of the Defendants’ disparate treatment of former state residents

residing in the Territories and overseas. The Individual Plaintiffs, who are former Illinois

residents, are not permitted to vote in federal elections in Illinois, even though former Illinois

residents residing in the NMI, American Samoa, or a foreign country are permitted to do so

under Illinois law. The Organizational Plaintiffs count former Illinois residents among their

members, and the inability of their members to vote in federal elections in Illinois diminishes

their communities’ access to the political process.

       10.     Plaintiffs seek a declaratory judgment that UOCAVA and Illinois MOVE violate

the Fifth Amendment and the Fourteenth Amendment, respectively. Plaintiffs also seek an

injunction directing Defendants Board of Election Commissioners for the City of Chicago,




                                                  3
      Case: 1:15-cv-10196 Document #: 1 Filed: 11/10/15 Page 5 of 23 PageID #:5




Langdon D. Neal, and Karen Kinney to accept Individual Plaintiffs’ applications to vote absentee

in federal elections in Illinois.

                                             PARTIES

        11.     a.      Plaintiff Luis Segovia is a U.S. citizen born in Chicago, Illinois in 1978,

where he was a resident until 2010 when he became a resident of Guam. Defendants will not

permit Mr. Segovia to vote for President or for voting Members of Congress by virtue of his

residence in Guam. Under UOCAVA and Illinois MOVE, Mr. Segovia would continue to be

able to vote for President and voting Members of the U.S. House and Senate by absentee ballot

in Illinois if he were a resident of the NMI, American Samoa, or a foreign country.

                b.      Mr. Segovia is a decorated Veteran, serving eighteen months in Iraq from

2005 to 2006 in the U.S. Army, twelve months in Afghanistan from 2008 to 2009 in the Illinois

National Guard, and ten months in Afghanistan in 2013 in the Guam National Guard. In Iraq, he

served at Forward Operating Base Marez near Mosul, with a primary mission to provide security

for the 2005 Iraqi elections. He was honorably discharged in 2008, and joined the Illinois

National Guard, where he was deployed to Afghanistan in 2008. He joined the Guam National

Guard in 2010 after becoming a resident of Guam. During his second tour in Afghanistan, he

thought about how he and his fellow soldiers from Guam were unable to vote for President in

2012 just months prior to deployment even though their service and sacrifice was no different

than the soldiers with whom he had previously served in Afghanistan. In fact, two of his fellow

Guam soldiers were killed in duty in Afghanistan. Mr. Segovia believes that it is a deep injustice

that Guam soldiers are treated as good enough to risk dying to defend democracy, but not good

enough to fully enjoy the right to vote. Nonetheless, Mr. Segovia, who was recently promoted to

the rank of Staff Sergeant, remains proud to serve his country and defend America’s democratic

and constitutional principles.


                                                  4
      Case: 1:15-cv-10196 Document #: 1 Filed: 11/10/15 Page 6 of 23 PageID #:6




               c.      Mr. Segovia also serves his country as a federal employee, with the

Department of the Navy’s civilian security forces police assigned to Anderson Air Force Base in

Guam. His wife, Lulene Baza Segovia, is also a federal employee, providing administrative

support services for the Guam Army National Guard.

               d.      When Mr. Segovia was a resident of Chicago, he voted for President.

Since residing in Guam, he is no longer able to vote for President, although he regularly votes in

Guam elections. Mr. Segovia would like to be able to vote for President and have voting

congressional representation in Guam, but until this is possible he desires to vote for President

and voting Members of the U.S. House and Senate by absentee ballot in Illinois. He believes

that where one lives as a U.S. citizen should not affect one’s right to vote.

       12.     a.      Plaintiff Jose Antonio Torres is a U.S. citizen born in Ponce, Puerto Rico,

in 1955; he currently resides in Carolina, Puerto Rico. From 1982 to 1993, he was a resident of

Chicago, Illinois. Defendants will not permit Mr. Torres to vote for President or for voting

Members of Congress by virtue of his residence in Puerto Rico. Under UOCAVA and Illinois

MOVE, Mr. Torres would continue to be able to vote for President and voting Members of the

U.S. House and Senate by absentee ballot in Illinois if he were a resident of the NMI, American

Samoa, or a foreign country.

               b.      Mr. Torres is a Vietnam-era Veteran who has a combined 100% disability

rating by virtue of injuries sustained during his military service. Mr. Torres was recruited to join

the United States Army as a high school student in Ponce, Puerto Rico. In 1973, he was

stationed in Germany as part of the 141st Field Artillery, a posting that required top secret

clearance. In 1974, he suffered a severe back injury while serving on-duty in Germany that




                                                  5
      Case: 1:15-cv-10196 Document #: 1 Filed: 11/10/15 Page 7 of 23 PageID #:7




required extended hospitalization. As a result of his serious injuries, he was honorably

discharged in 1975.

                 c.    Mr. Torres became a resident of Chicago, Illinois in 1982. In 1986, he

was hired by the United States Postal Service (“USPS”). In 1993, he was transferred from

Illinois to Puerto Rico. He worked as a federal employee for USPS in Puerto Rico for another

fifteen years, retiring in 2008 after 22 years of federal service. As a federal employee in Puerto

Rico, Mr. Torres was required to pay the same federal taxes, including federal income tax, as

federal employees living in the States, even as he continued to be disenfranchised.

                 d.    As a resident of Chicago, Mr. Torres regularly voted for President. Upon

being transferred to Puerto Rico by USPS, he was no longer able to vote for President, although

he has regularly voted in Puerto Rico elections. Mr. Torres would like to be able to vote for

President and have voting congressional representation in Puerto Rico, but until this is possible

he desires to vote for President and voting Members of the U.S. House and Senate by absentee

ballot in Illinois. He believes that where one lives as a U.S. citizen should not affect one’s right

to vote.

           13.   a.    Plaintiff Pamela Lynn Colon is a U.S. citizen born in Chicago, Illinois in

1959, where she was a resident until 1992 when she became a resident of the U.S. Virgin Islands;

she currently resides in St. Croix. Defendants will not permit Ms. Colon to vote for President or

for voting members of Congress by virtue of her residence in the U.S. Virgin Islands. Under

UOCAVA and Illinois MOVE, Ms. Colon would continue to be able to vote for President and

voting Members of the U.S. House and Senate by absentee ballot in Illinois if she were a resident

of the NMI, American Samoa, or a foreign country.




                                                  6
      Case: 1:15-cv-10196 Document #: 1 Filed: 11/10/15 Page 8 of 23 PageID #:8




                b.      Ms. Colon is an attorney with a significant federal criminal defense

practice. From 1996 to 2000 she served as the Assistant Federal Public Defender in St. Thomas,

Virgin Islands, and is past-President of the Virgin Islands Bar Association. She has defended

numerous clients in the Virgin Islands who were prosecuted for federal crimes, including several

facing the possibility of life in prison, and even potentially the death penalty. Ms. Colon

believes democratic accountability is the foundation of a functional and just criminal-justice

system, a foundation that is lacking in the Virgin Islands because of the absence of voting

representation in Congress and the right to vote for President. In her view, every American

citizen should have democratic representation in the federal criminal law they are required to

follow, in the federal judges who try and sentence those accused of federal crimes, and in the

federal prosecutors who enforce the law.

                c.      Ms. Colon’s son, who is a resident of the Virgin Islands, will turn 18 next

year. While he will be required to register for selective service, he will not be able to vote for

President in the General Election (even though he will be eligible to vote in the Primary). Ms.

Colon believes that if you can be drafted to serve in the military, you should be able to vote for

your Commander-in-Chief. She also believes that where one lives as a U.S. citizen should not

affect one’s right to vote.

                d.      As a resident of Chicago, Ms. Colon regularly voted for President. Once

she established her residency in the Virgin Islands in 1992, she became unable to vote for

President, although she has regularly voted in elections in the U.S. Virgin Islands. Ms. Colon

would like to be able to vote for President and have voting congressional representation in the

U.S. Virgin Islands, but until this is possible she desires to vote for President and voting

Members of the U.S. House and Senate by absentee ballot in Illinois.




                                                  7
      Case: 1:15-cv-10196 Document #: 1 Filed: 11/10/15 Page 9 of 23 PageID #:9




       14.     a.      Plaintiff Tomas Ares is a U.S. citizen born in San Lorenzo, Puerto Rico in

1955, where he currently resides. From 1967 to 2007, he was a resident of Chicago, Illinois.

Defendants will not permit Mr. Ares to vote for President or for voting members of Congress by

virtue of his residence in Puerto Rico. Under UOCAVA and Illinois MOVE, Mr. Ares would

continue to be able to vote for President and voting Members of the U.S. House and Senate by

absentee ballot in Illinois if he were a resident of the NMI, American Samoa, or a foreign

country.

               b.      Mr. Ares is a Vietnam-era Veteran who joined the U.S. Army in 1971 at

the age of 17. After being stationed in Germany, he was honorably discharged in 1972 on the

ground that he was not of the legal age to serve. Mr. Ares’ father, who was born in Puerto Rico

in 1902, served in the U.S. Army’s 65th Infantry from 1920 through 1944. His father passed

away in 1979 without ever having the opportunity to vote for President, something that has

always troubled Mr. Ares.

               c.      As a resident of Chicago, Mr. Ares regularly voted for President. Upon

retiring in Puerto Rico, Mr. Ares can no longer vote for President, although he regularly votes in

Puerto Rico elections. Mr. Ares would like to be able to vote for President and have voting

congressional representation in Puerto Rico, but until this is possible he desires to vote for

President and voting Members of the U.S. House and Senate by absentee ballot in Illinois. He

believes that where one lives as a U.S. citizen should not affect one’s right to vote.

       15.     a.      Plaintiff Anthony Bunten is a U.S. citizen born in Moline, Illinois in 1976,

where he was a resident until 1997, when he became a resident of Guam. Defendants will not

permit Mr. Bunten to vote for President or for voting members of Congress by virtue of his

residence in Guam. Under UOCAVA and Illinois MOVE, Mr. Bunten would continue to be able




                                                  8
    Case: 1:15-cv-10196 Document #: 1 Filed: 11/10/15 Page 10 of 23 PageID #:10




to vote for President and voting Members of the U.S. House and Senate by absentee ballot in

Illinois if he were a resident of the NMI, American Samoa, or a foreign country.

               b.      Mr. Bunten is a Veteran who joined the U.S. Navy directly out of high

school in 1994. He was honorably discharged in 1997. Shortly thereafter, he moved to Guam,

where he established residency in 1997 to join his now-wife, Barbara Perez Hattori. As a

resident of Illinois, Mr. Bunten voted for President. Once he became a Guam resident, he was no

longer able to vote for President, although he regularly votes in Guam elections.

               c.      Mr. Bunten would like to be able to vote for President and have voting

congressional representation in Guam, but until this is possible he desires to vote for President

and voting Members of the U.S. House and Senate by absentee ballot in Illinois. He believes

that where one lives as a U.S. citizen should not affect one’s right to vote.

       16.     a.      Plaintiff Lavonne Wise is a U.S. citizen born in Queens, New York; she

currently resides in St. Croix in the U.S. Virgin Islands. From 2003 to 2009, she was a resident

of Chicago, Illinois. Defendants will not permit Ms. Wise to vote for President or for voting

Members of Congress by virtue of her residence in the U.S. Virgin Islands. Under UOCAVA

and Illinois MOVE, Ms. Wise would continue to be able to vote for President and voting

Members of the U.S. House and Senate by absentee ballot in Illinois if she were a resident of the

NMI, American Samoa, or a foreign country.

               b.      As a resident of Chicago in 2008, Ms. Wise voted for President by

absentee ballot while temporarily working in St. Croix. Later, when she became a resident of St.

Croix in 2009, she became unable to vote for President, although she regularly votes in elections

in the U.S. Virgin Islands. Previously, from 1990-1992, Ms. Wise was a resident of St. Maarten,

Netherland Antilles, moving there from Atlanta, Georgia. While residing in a foreign country,




                                                  9
    Case: 1:15-cv-10196 Document #: 1 Filed: 11/10/15 Page 11 of 23 PageID #:11




Ms. Wise did not lose her right to vote for President, as she did when she began residing in the

Virgin Islands.

                  c.   Ms. Wise would like to be able to vote for President and have voting

congressional representation in the U.S. Virgin Islands, but until this is possible she desires to

vote for President and voting Members of the U.S. House and Senate by absentee ballot in

Illinois. She believes that where one lives as a U.S. citizen should not affect one’s right to vote.

       17.        a.   Plaintiff Iraq Afghanistan and Persian Gulf Veterans of the Pacific

(“IAPGVP”) is a nonprofit organization founded in 2014 whose mission is to provide

opportunities to engage, enrich, and empower Pacific Island Veterans of Iraq, Afghanistan, and

the Persian Gulf and their families. Its membership includes current residents of Guam who are

former residents of Illinois and other States. IAPGVP seeks to honor with dignity the sacred

memory of the war dead, and by doing so, ensure that the lasting legacy of the fallen is

responsibility toward, not exploitation of, their sacrifice. IAPGVP was created to improve the

quality of life for veterans of the Persian Gulf, Iraq, and Afghanistan era who reside in Guam, the

NMI, and the Federated States of Micronesia, where thousands of veterans cannot vote for

President of the United States and lack voting representation in Congress.

                  b.   IAPGVP recognizes that political empowerment of Pacific Island veterans

and their communities is critical to addressing the pressing needs of these veterans. IAPGVP

believes that continuing political disenfranchisement contributes to the health-care crisis facing

Guam veterans. While up to one in eight adults in Guam is a veteran, and while the casualty rate

for Guam soldiers in Iraq and Afghanistan has been 4.5 times the national average, in 2012,

Guam ranked below every State in medical-care spending per veteran. IAPGVP believes that if

veterans and others in Guam who would be able to vote for President if they lived in the NMI,




                                                 10
    Case: 1:15-cv-10196 Document #: 1 Filed: 11/10/15 Page 12 of 23 PageID #:12




American Samoa, or a foreign country could fully exercise their right to vote, it would provide

new opportunities for national political engagement related to Guam veterans issues, including

healthcare issues. IAPGVP also believes it would help create a much-needed political incentive

for Congress and the President to take action to ensure full voting rights for all of Guam’s

residents. IAPGVP believes that where one lives as a U.S. citizen should not affect one’s right to

vote.

        18.    a.      The League of Women Voters of the Virgin Islands (“LWV-VI”), founded

in 1968, is a non-profit, non-partisan political organization founded to promote political

responsibility through informed voters who actively participate in government. Its membership

includes current residents of the Virgin Islands who are former residents of Illinois and other

States. The centerpiece of the LWV-VI’s activities is to expand voter participation and give a

voice to all Americans. LWV-VI is grounded in the principle that democracy should work for all

its citizens. Members of LWV-VI work to ensure that the realities of America’s system of

government live up to its democratic and constitutional ideals.

               b.      LWV-VI recognizes that political empowerment of Virgin Islanders is

critical to addressing the pressing needs of the Virgin Islands community. LWV-VI believes that

continuing political disenfranchisement contributes to many hardships facing Virgin Islanders,

from economic development to healthcare to the environment. LWV-VI believes that if Virgin

Islanders who would be able to vote for President if they lived in the NMI, American Samoa, or

a foreign country could fully exercise their right to vote, it would provide new opportunities for

national political engagement on issues that affect daily life in the Virgin Islands. LWV-VI also

believes it would help create a much-needed political incentive for Congress and the President to




                                                11
     Case: 1:15-cv-10196 Document #: 1 Filed: 11/10/15 Page 13 of 23 PageID #:13




take action to ensure full voting rights for all Virgin Islanders. LWV-VI believes that where one

lives as a U.S. citizen should not affect one’s right to vote.

        19.     Defendant Board of Election Commissioners for the City of Chicago is the

“election authority” that has jurisdiction over the precinct of former residence of Individual

Plaintiffs Luis Segovia, Jose Antonio Torres, Pamela Lynn Colon, Tomas Ares, and Lavonne

Wise, and is charged with providing absentee ballots to former Chicago residents now residing in

the NMI, American Samoa, or in a foreign country. See 10 Ill. Comp. Stat. 5/20-2.2; id. 5/1-

3(8); id. 5/6-21.

        20.     Defendant Langdon D. Neal is being sued in his official capacity as Chairman of

the Board of Election Commissioners for the City of Chicago. In that capacity, Chairman Neal is

responsible for the administration of the Board of Election Commissioners for the City of

Chicago. See 10 Ill. Comp. Stat. 5/6-24.

        21.     Defendant Karen Kinney is being sued in her official capacity as the Rock Island

County Clerk. The County Clerk is the “election authority” that has jurisdiction over the

precinct of former residence of Individual Plaintiff Anthony Bunten, and is charged with

providing absentee ballots to former Rock Island County residents now residing in the NMI or

American Samoa, or in a foreign country. See 10 Ill. Comp. Stat. 5/20-2.2; id. 5/1-3(8); id. 5/5-

4.

        22.     Defendant Ashton Carter is being sued in his official capacity as the Secretary of

Defense. Under Executive Order Number 12,642, 53 Fed. Reg. 21,975, at 21,975 (June 8, 1988),

the Secretary of Defense is “designated as the ‘Presidential designee’” under UOCAVA, 52

U.S.C. § 20301(a).




                                                  12
    Case: 1:15-cv-10196 Document #: 1 Filed: 11/10/15 Page 14 of 23 PageID #:14




       23.     Defendant Federal Voting Assistance Program (“FVAP”) is charged with the

administration of federal responsibilities under UOCAVA pursuant to a delegation of authority

by the Secretary of Defense. See Department of Defense Instruction 1000.04 (Sept. 13, 2012).

       24.     Defendant Matt Boehmer is being sued in his official capacity as Director of

FVAP. In that capacity, Director Boehmer is responsible for all aspects of FVAP and has the

authority to administer that responsibility, including the establishment and maintenance of a

voting assistance program “to assist all eligible voters as covered by” UOCAVA. See

Department of Defense Instruction 1000.04, at Encl. 3.

       25.     Each of the above-named Defendants has been sued in its, his or her official

capacity. At all relevant times, Defendants have acted under the color of statutes, ordinances,

regulations, customs and usages of the State of Illinois or the United States.

                                 JURISDICTION AND VENUE

       26.     This action seeks declaratory relief under the Federal Declaratory Judgment Act

of 1934, 28 U.S.C. §§ 2201-2202.

       27.     This Court has subject matter jurisdiction under 28 U.S.C. § 1331 because

Plaintiffs’ causes of action arise under the U.S. Constitution. The Court also has subject matter

jurisdiction under 28 U.S.C. § 1343(a)(3), because this is an action to “redress the deprivation,

under color of any State law, statute, ordinance, regulation, custom or usage, of any right,

privilege or immunity secured by the Constitution of the United States or by any Act of Congress

providing for equal rights of citizens or of all persons within the jurisdiction of the United

States.”

       28.     Venue is proper in this district under 28 U.S.C. § 1391(b)(1) & (e)(1) because the

United States, Ashton Carter, the Federal Voting Assistance Program, and Matt Boehmer are

federal defendants and Defendants Board of Election Commissioners for the City of Chicago and


                                                 13
    Case: 1:15-cv-10196 Document #: 1 Filed: 11/10/15 Page 15 of 23 PageID #:15




Langdon D. Neal reside in this district and a substantial part of the events and omissions giving

rise to Plaintiffs’ claims occurred in this district, and because Defendant Karen Kinney and all of

the non-federal defendants are residents of Illinois.

                                   FACTUAL ALLEGATIONS

       A.      History Of Overseas U.S. Territories

       29.     The United States has five Territories: Puerto Rico, Guam, the U.S. Virgin

Islands, American Samoa, and the NMI. These jurisdictions are home to over 4 million people, a

population greater than nearly half the States and larger than the five smallest States combined.

According to the U.S. Census, more than 98% of the residents of these areas are racial or ethnic

minorities.

       30.     Puerto Rico and Guam became a part of the United States in 1898 following the

Spanish-American War. American Samoa became part of the United States after Deeds of

Cession were signed in 1900 and 1904. The U.S. Virgin Islands was purchased by the United

States from Denmark in 1917. The NMI became part of the United States in 1986. Congress

recognized people born in Puerto Rico were U.S. citizens in 1917, in the U.S. Virgin Islands in

1927, in Guam in 1950, and in the NMI in 1986; people born in American Samoa are recognized

as U.S. nationals owing permanent allegiance to the United States. While each area has a unique

history and people, the Territories are similarly situated with respect to their relationship to the

federal government. While each has a local government, ultimate authority rests with Congress,

which has broad power over the Territories under Article IV, Section 3 of the U.S. Constitution.

       31.     The Territories have a proud tradition of military service, with their residents

serving in every major American conflict since World War I. Territorial residents volunteer to

serve in the U.S. Armed Forces at rates that are generally significantly higher than the 50 States.

Over 150,000 veterans currently reside in the Territories. Nine Puerto Ricans have been awarded


                                                  14
    Case: 1:15-cv-10196 Document #: 1 Filed: 11/10/15 Page 16 of 23 PageID #:16




the Medal of Honor, the highest military honor, with the Puerto Rico-based 65th Infantry having

been awarded the Congressional Gold Medal, the highest civilian honor. In Iraq and

Afghanistan, the casualty rates for Guam and the U.S. Virgin Islands were 4.5 times and three

times the national average, respectively. American Samoa and the NMI have had similarly high

casualty rates. Like other Americans, U.S. citizens who reside in the Territories are required to

register for selective service when they turn eighteen. These Americans are subject to the

military draft the same as other Americans, with more than 50,000 territorial residents serving in

Vietnam.

       32.     Residents of the Territories also contribute a significant amount to the federal

treasury through federal taxes. In 2014 alone, residents of the Territories paid more than $3.5

billion in federal taxes according to the 2014 Internal Revenue Service Data Book. Territorial

residents pay most federal taxes, although only certain federal employees pay federal income

taxes. Territorial residents also receive most federal benefits, although many major benefits like

Medicaid have funding levels capped at levels well below what residents of the States receive. A

2014 report by the Government Accountability Office examining federal taxation and benefits in

Puerto Rico suggests that if residents of the Territories were treated the same as residents of the

States for purposes of federal taxation and benefits, additional federal program spending would

exceed new federal tax revenue.

       33.     Federal criminal laws fully apply in the Territories. In 2012, the most recent year

for available statistics, more than 2,100 individuals were prosecuted for federal crimes in the

Territories, with more than 1,500 receiving a criminal sentence according to the Bureau of

Justice Statistics Federal Justice Statistics Program. Under federal criminal law, territorial

residents may face life in prison or even the death penalty, even though none of the Territories




                                                 15
    Case: 1:15-cv-10196 Document #: 1 Filed: 11/10/15 Page 17 of 23 PageID #:17




provide for capital punishment, and several expressly prohibit it. Moreover, because of their

disenfranchisement, there is no democratic accountability with respect to the federal laws they

must follow, or with the federal prosecutors and federal judges who enforce the law, proceed

over trials, and determine sentencing.

       34.     While Congress has broad power over the Territories, their sole federal

representation is a non-voting Delegate in the U.S. House of Representatives, who shares many

of the privileges of other Members, but who cannot vote on final passage of legislation. The

Territories lack any form of representation, voting or not, in the U.S. Senate. In presidential

elections, territorial residents fully participate in the party primaries, with Delegates attending the

national party conventions. But when it comes to the General Election, the Territories are not

included in the Electoral College, as are residents of the States (and the District of Columbia

based on the Twenty-Third Amendment).

       35.     Voting trends in the Territories cross party lines. For example, while the current

Puerto Rico Governor is a Democrat, its immediate past Governor is a Republican. Both Guam

and the NMI currently have Republican Governors but Democratic Non-Voting Delegates to

Congress. The situation is reversed in American Samoa, with a Democratic Governor and a

Republican Non-Voting Delegate. The Virgin Islands has an Independent Governor (who is a

former Republican), and a Democratic Non-Voting Delegate. Perhaps most striking, Guam

includes a straw poll for President on its General Election ballot, with Guam voters, who cast

their votes a day ahead of the rest of the country, predicting the eventual winner in every

presidential election since the first straw poll in 1980.

       36.     Residents of U.S. Territories are able to vote for President should they become a

resident of a State or the District of Columbia. Indeed, there is a territorial diaspora of more than




                                                  16
    Case: 1:15-cv-10196 Document #: 1 Filed: 11/10/15 Page 18 of 23 PageID #:18




5 million Americans living in the States and the District of Columbia who have ties to the

Territories, whether through family or having actually lived in a Territory. Included among

those in the diaspora who will have a particularly influential political voice in 2016 are the more

than 1 million who live in Florida, 423,000 in Pennsylvania, 108,000 in Ohio, 92,000 in Virginia,

and 89,000 in North Carolina. Each year, tens of thousands of territorial residents move to the

States, with the largest influx to Florida; thousands of residents of the States also move to the

Territories, where they become disenfranchised, depending on the Territory to which they move.

       B.      History And Structure Of UOCAVA

       37.     Congress enacted UOCAVA in 1986 to “facilitate absentee voting by United

States citizens, both military and civilian, who are overseas.” H.R. Rep. No. 99-765, at 5 (1986),

reprinted in 1986 U.S.C.C.A.N. 2009, at 2009.

       38.     UOCAVA built on existing federal statutes, which Congress enacted to safeguard

the fundamental nature of voting rights and to cure a potential violation of equal protection by

remedying the selective distribution of the franchise to Americans who had left their State of

residence and not adopted another state residence. See H.R. Rep. No. 94-649, pt. 1, at 2-3

(1975), reprinted in 1975 U.S.C.C.A.N. 2358, 2359-60.

       39.     Among other things, UOCAVA was enacted to supply alternative forms of voting

to overseas citizens who seek to comply with state procedures but are unable to acquire or timely

submit state absentee ballots. H.R. Rep. No. 99-765, at 5-6, 1986 U.S.C.C.A.N. at 2009-10.

       40.     Section 102 of UOCAVA (now codified as amended at 52 U.S.C. § 20302)

reaffirms the pre-existing requirement that States must “provide for absentee registration and

absentee voting by absent uniformed services voters and overseas voters.” H.R. Rep. No. 99-

765, at 20, 1986 U.S.C.C.A.N. at 2024; see also 52 U.S.C. § 20302(a)(1) (Each State shall

“permit absent uniformed services voters and overseas voters to use absentee registration


                                                 17
       Case: 1:15-cv-10196 Document #: 1 Filed: 11/10/15 Page 19 of 23 PageID #:19




procedures and to vote by absentee ballot in general, special, primary, and runoff elections for

Federal office.”).

         41.      Section 107 of UOCAVA defines the “overseas voter[s]” covered by section 102.

As amended, the provision defines “overseas voter” to include an absent uniformed services

voter, “a person who resides outside the United States and is qualified to vote in the last place in

which the person was domiciled before leaving the United States,” and “a person who resides

outside the United States and (but for such residence) would be qualified to vote in the last place

in which the person was domiciled before leaving the United States.” 52 U.S.C. § 20310(5)(B)-

(C).

         42.      The same section also defines “State” as “a State of the United States, the District

of Columbia, the Commonwealth of Puerto Rico, Guam, the Virgin Islands, and American

Samoa.” Id. § 20310(6). Consistent with this definition, it also provides that the term “‘United

States,’ where used in the territorial sense, means” the same grouping of States and Territories.

Id. § 20310(8).

         43.      The NMI is excluded from both definitions. No explanation is given for this

arrangement in the legislative history.

         44.      The effect of UOCAVA’s statutory language is to protect the right to vote for

President and voting representation in the U.S. House and Senate for certain U.S. citizens who

move outside the States, but not for others, drawing lines even between U.S. citizens based on

the particular overseas Territory in which they reside.

         C.       History And Structure Of The Illinois Overseas Voting Statute

         45.      Illinois has adopted its own provision, known as Illinois MOVE, protecting and

regulating the voting rights of overseas citizens. Illinois MOVE provides that U.S. citizens

indefinitely residing “outside the territorial limits of the United States” can vote by absentee


                                                   18
    Case: 1:15-cv-10196 Document #: 1 Filed: 11/10/15 Page 20 of 23 PageID #:20




ballot as Illinois residents in federal elections for President and the U.S. House and Senate. 10

Ill. Comp. Stat. 5/20-1(4); id. at 5/20-2.2.

       46.     The Illinois statute defines the “territorial limits of the United States” as a U.S.

state, the District of Columbia, Puerto Rico, Guam, and the Virgin Islands. Id. 5/20-1(1). As

with UOCAVA, it excludes the NMI from the definition. But it goes further, expressly

excluding American Samoa from the definition as well. Id.

       47.     Thus, under Illinois law, former Illinois residents living in a foreign country, or in

American Samoa or the NMI – but not other U.S. Territories overseas – may vote in Illinois by

absentee ballot for President and voting representation in the U.S. House and Senate.

       D.      Equal Protection Principles

       48.     The Equal Protection Clause of the U.S. Constitution provides: “No state shall . . .

deny to any person within its jurisdiction the equal protection of the laws.” U.S. Const. amend.

XIV, § 1.

       49.     Equal-protection requirements apply both to federal and state laws. See, e.g.,

United States v. Windsor, 133 S. Ct. 2675, 2695 (2013) (“The liberty protected by the Fifth

Amendment’s Due Process Clause contains within it the prohibition against denying to any

person the equal protection of the laws.”).

       50.     The Equal Protection Clause guarantees a citizen’s “right to participate in

elections on an equal basis” when that right is threatened by “statutes that selectively distribute

the franchise.” Dunn v. Blumstein, 405 U.S. 330, 336 (1972). “[O]nce the franchise is granted to

the electorate, lines may not be drawn which are inconsistent with” equal protection. Harper v.

Va. State Bd. of Elections, 383 U.S. 663, 665 (1966). This constitutional principle is necessary

to safeguard voters’ ability to protect their stake in the affairs of government “by exercising the

equal right to vote.” Evans v. Cornman, 398 U.S. 419, 426 (1970).


                                                 19
     Case: 1:15-cv-10196 Document #: 1 Filed: 11/10/15 Page 21 of 23 PageID #:21




        51.     Federal and Illinois law protect the right to vote for certain U.S. citizens who

move overseas, while denying it to others who are similarly situated, even going so far as to

draw lines based on the particular Territory in which a person resides. Neither Congress nor

Illinois has offered any justification for this arbitrary classification.

                                       CLAIM FOR RELIEF

     UOCAVA And The Illinois Statute Violate The Equal-Protection And Due Process
     Guarantees Under The Fifth And Fourteenth Amendments And 42 U.S.C. § 1983
            By Treating Differently Former State Residents Depending On
                     Where They Now Reside Outside The States

        Plaintiffs incorporate by reference paragraphs 1 through 51 as if set forth here in full.

        52.     By treating similarly situated former state residents differently based on where

they reside overseas, UOCAVA and Illinois MOVE violate the equal-protection and due process

guarantees of the Fifth and Fourteenth Amendments and 42 U.S.C § 1983. The two statutes

protect the voting rights of certain U.S. citizens who live outside the States in certain overseas

Territories or foreign countries, while denying those rights to similarly situated U.S. citizens who

live in other overseas Territories.

        53.     No legislature has articulated a legitimate justification for this arbitrary and

disparate treatment of overseas citizens. Even if some justification had been offered for such

disparate treatment, it could not pass constitutional muster under any standard of review.

        54.     By reason of the foregoing, Defendants, acting under color of federal and state

law, have deprived and will continue to deprive Plaintiffs of equal protection under the law

secured to them by the Fourteenth Amendment and the Fifth Amendment, and protected against

state interference specifically by 42 U.S.C. § 1983.




                                                   20
Case: 1:15-cv-10196 Document #: 1 Filed: 11/10/15 Page 22 of 23 PageID #:22




                             PRAYER FOR RELIEF

  WHEREFORE, Plaintiffs request of this Court the following equitable relief:

            a. An order declaring that 52 U.S.C. § 20310 and 10 Ill. Comp. Stat. 5/20-1

                of the Illinois Compiled Statutes violate the Fifth Amendment, the

                Fourteenth Amendment, and 42 U.S.C § 1983 by defining “United States”

                and “territorial limits of the United States” in a manner that discriminates

                among former Illinois residents living overseas outside the States;

            b. A preliminary and permanent order enjoining Defendants, their respective

                agents, servants, employees, attorneys, successors, and all persons acting

                in concert with each or any of them, to accept applications to vote

                absentee in the next federal election in Illinois from Individual Plaintiffs.

            c. Attorneys’ fees and costs to which Plaintiffs might be entitled by law; and

            d. Such other and further relief as this Court may deem just and appropriate.

                                                       Respectfully submitted,

                                                       s/ Charles F. Smith
                                                       Charles F. Smith
                                                       Lara A. Flath
                                                       155 N. Wacker Drive, Suite 2700
                                                       Chicago, Illinois 60606
                                                       (312) 407-0700
                                                       charles.smith@probonolaw.com
                                                       lara.flath@probonolaw.com

                                                       Geoffrey M. Wyatt
                                                       Michael McIntosh
                                                       Marisa B. Van Saanen
                                                       W. Graham McCall
                                                       1440 New York Avenue N.W.
                                                       Washington, D.C. 20005
                                                       (202) 371-7000
                                                       geoffrey.wyatt@probonolaw.com
                                                       (applications for admission pro hac
                                                       vice forthcoming)


                                          21
Case: 1:15-cv-10196 Document #: 1 Filed: 11/10/15 Page 23 of 23 PageID #:23




                                               Neil C. Weare
                                               We the People Project
                                               1666 Connecticut Avenue N.W.
                                               Suite 500
                                               Washington, DC 20009
                                               (202) 304-1202
                                               nweare@equalrightsnow.org
                                               (application for admission pro hac
                                               vice forthcoming)

                                               Leevin T. Camacho
                                               The Law Office of Leevin T.
                                                  Camacho
                                               194 Hernan Cortez Avenue
                                               Suite 216
                                               Hagåtña, Guam 96910
                                               (617) 477-8894
                                               leevin@guahanlaw.com
                                               (application for admission pro hac
                                               vice forthcoming)

                                               Luis G. Rivera Marín
                                               Rivera Marín & Talavera Law
                                                  Offices
                                               112 Uruguay Street
                                               Hato Rey, Puerto Rico 00918
                                               (787) 946-9400
                                               luisg@riveramarin.com
                                               (application for admission pro hac
                                               vice forthcoming)

                                               Semaj Johnson
                                               Law Offices of K.A. Rames PC
                                               Suite 3, 2111 Company Street
                                               Christiansted, St. Croix, Virgin
                                                  Islands 00820
                                               (340) 773-7284
                                               semaj.johnson@rameslaw.com
                                               (application for admission pro hac
                                               vice forthcoming)

                                               Attorneys for Plaintiffs




                                    22
